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                 I N T H E U N I T E D S TAT E S B A N K R U P T C Y C O U RT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                   H O U S TO N D I V I S I O N



    In re
                                                                            Case No. 23-90611 (MI)
    WESCO AIRCRAFT HOLDINGS, INC.,                                          Chapter 11
    et al.,1
                                                                            (Jointly Administered)
                      Debtors.




               N O T I C E R E G A R D I N G S TAT U S O F M E D I AT I O N A N D
                     C H A P T E R 11 C O N F I R M AT I O N T I M E L I N E


            PLEASE TAKE NOTICE that on December 5, 2024, the Court entered its Order Setting
Confirmation Schedule [Dkt. # 2412], which ordered that a Plan Supplement containing “the
material terms of the new governance provisions for the reorganized debtor must be filed by 11:59
p.m. on December 10, 2024” (the “Plan Supplement Deadline”).

            PLEASE TAKE FURTHER NOTICE that the Debtors are providing the following update
to the Court regarding the Plan Supplement Deadline:

               e mediation parties have not yet reached agreement on the terms of the new governance
            provisions for the reorganized Debtors and, as such, do not expect to file such terms prior to
            the current Plan Supplement Deadline.         e mediation parties—including advisors and
            principals—have been working closely with the mediator to reach resolution and have
            relayed to the Debtors that they have narrowed the relevant issues and are hopeful that they
            will be in a position for the Debtors to file such terms within the next two days (i.e., by
               ursday, December 12, 2024). To the extent such terms are not filed by such time, the



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          e Debtors operate under the trade name Incora and have previously used the trade names Wesco, Pattonair,
       Haas, and Adams Aviation. A complete list of the Debtors in these chapter 11 cases, with each one’s federal tax
       identification number and the address of its principal oﬃce, is available on the website of the Debtors’ noticing
       agent at http://www.kccllc.net/incora/. e service address for each of the Debtors in these cases is 2601 Meacham
       Blvd., Ste. 400, Fort Worth, TX 76137.
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     Debtors will file a further notice providing an update to the court on the status of mediation
     and the confirmation timeline.

       PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these chapter
11 cases are available free of charge by visiting the Debtors’ restructuring website at
https://veritaglobal.net/incora. You may also obtain copies of any documents filed in these
chapter 11 cases for a fee via PACER at http://www.txs.uscourts.gov.



                            [Remainder of page intentionally blank]




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Dated: December 10, 2024
                                            /s/ Charles A. Beckham, Jr.

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                                            - and -

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                                            Counsel to the Debtors and
                                            Debtors in Possession




If you have any questions related to this notice, please call (888) 251-2937 (U.S./Canada) or
             +1 (310) 751-2613 (International) or visit www.kccllc.net/incora.




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                               C E RT I F I C AT E O F S E RV I C E
       I certify that, on December 10, 2024, a true and correct copy of the foregoing document
was served through the Electronic Case Filing system of the United States Bankruptcy Court for
the Southern District of Texas and as set forth in the Aﬃdavit of Service to be filed by the Debtors’
noticing agent.

                                                       /s/ Charles A. Beckham, Jr.
                                                       Charles A. Beckham, Jr.




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